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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON




GORDON MCMAIN,                                                      Case No. 2:13-cv-01632-AA

              Plaintiff,                                                OPINION AND ORDER

       V.

COLLETTE PETERS; DR. SHELTON;
DR. ELLIOT-BLAKESLEE; J. BELL;
J. TAYLOR; MS. SMITH,

              Defendants.


AIKEN, District Judge:

       Plaintiff, a former inmate at the Snake River Correctional Institution, filed suit pursuant

to 42 U.S.C. § 1983 and alleged deliberate indifference to his serious medical needs and the

denial of equal protection under the law. Defendant Shelton, the sole remaining defendant, now

moves for summary judgment under Federal Rule of Civil Procedure 56. For the reasons set forth

below, Dr. Shelton's motion is granted.

                                           BACKGROUND

       Plaintiff is a former inmate who was housed at the Snake River Correctional Institution

(SRCI) during all relevant time periods.
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              Plaintiff alleges that in 2009, prior to his incarceration, he was prescribed testosterone to

      elevate his testosterone levels. Compl. at 3 (ECF No. 2). Plaintiff further alleges that during his

      pretrial detention between May and October 2011, he continued to receive bimonthly injections
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      of testosterone. Id. Plaintiff claims that these injections were necessary to treat his bipolar

f     disorder and post-traumatic stress disorder. Id. at 3-4.
~             On October 5, 2011, plaintiff was transferred to the custody the Oregon Department of

j     Corrections (ODOC), when he was 41 years old. Shelton Deel. ii 3.

              On December 28, 2011, plaintiff saw Dr. Elliott-Blakeslee and complained of low

      testosterone levels and requested testosterone injections. Id.          ii 25. Lab tests conducted on
      November 28, 2011 had showed that plaintiffs testosterone level was 216 ng/dL, below normal

      levels. Id.   ii 24. 1 Plaintiff maintains that he was told testosterone injections were not prescribed to
      inmates unless they had been diagnosed with Klinefelter Syndrome. Compl. at 5. 2 Dr. Elliott-

      Blakeslee doubted that plaintiff had Klinefelter Syndrome and ordered additional lab tests to

      confirm her diagnosis. Id.

              On May 7, 2012, plaintiffs testosterone level was at 202.8 ng/dL, which was below the

      normal range of 249-836 ng/dL for his age. Shelton Deel. ii 27.

              On May 23, 2012, Dr. Elliott-Blakeslee indicated she was presenting plaintiffs request

      for testosterone therapy to the Therapeutic Level of Care (TLC) Committee. Id.         ii 28.

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                According to defendant, the normal testosterone range for men ages 19-29 is about 270
      to 1,070 ng/dL with an average of 679 ng/dL at age 20. Shelton Deel. ii 8. From the ages of 30 to
      40, testosterone levels gradually decline about 1 percent per year. Id.
              2
                Klinefelter Syndrome is a genetic condition resulting when a person is born with an
      extra copy of the X chromosome. According to Dr. Shelton, Klinefelter Syndrome may adversely
      affect testicular growth, leading to lower production of testosterone, and supplemental
      testosterone may be useful to continue "the development of adult male characteristics." Shelton
      Deel. ii 10.
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I              On May 30, 2012, Dr. Elliott-Blakeslee noted that the TLC Committee denied the request

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        on grounds that plaintiff did not have a medical need for testosterone treatment. Id.           ~   29.

    t          On June 12, 2012, plaintiff told Dr. Elliott-Blakeslee that that his low testosterone level
    '




I       may have been contributing to his generalized anxiety. Id.         ~   30. Dr. Elliott-Blakeslee asked the

        TLC Committee to once again consider plaintiff for testosterone injections.

               On June 13, 2012, Dr. Shelton responded that prescribing testosterone for generalized

        anxiety was questionable when other common medications were available and approved for

        treating anxiety. Id. According to Dr. Shelton, testosterone injections in middle-aged and older

        men have been found to pose risks and have debatable medical value. Shelton Deel.~ 30.

i              On December 4, 2012, plaintiff again asked Dr. Elliott-Blakeslee for testosterone



I       injections. Id.~ 32. She again noted that plaintiff did not have Klinefelter Syndrome.

               On December 10, 2012, plaintiffs testosterone level was at 206.9 ng/dL, which was a


l       slight increase from his testosterone level on May 7, 2012.       Id.~   33.

               On May 22, 2013, after another referral, the TLC Committee again denied plaintiff

        testosterone injections on grounds that they were not medically necessary.         Id.~   34.

               On June 5, 2013, plaintiffs testosterone levels had increased to 241.7 ng/dL, only



I       slightly below low-normal levels. Id.   ~   36.

               On July 31, 2013, plaintiff repeated his request for testosterone and said he was "certain"

l       he had Klinefelter Syndrome. Shelton Deel.        ~   38. Dr. Elliot-Blakesee noted that plaintiff did not

        have symptoms of Klinefelter Syndrome and that she intended to order additional lab tests for

        the TLC's consideration. Id. However, plaintiff refused to allow a blood draw for the lab tests to

        be conducted. Id.   ~   39.



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        On September 5, 2013, Dr. Shelton responded to a letter plaintiff had written to the

ODOC Director and explained that plaintiffs testosterone level was just outside of low normal

and his thyroid stimulating hormone was within normal limits and that testosterone treatments

were not medically necessary.   Id.~   40.

        On September 16, 2013, plaintiff filed suit in this Court.

        On October 9, 2014, plaintiffs testosterone levels were tested at a normal level of 399.8

ng/dL. Id.   ~   42.

                                             DISCUSSION

       Plaintiff alleges that Dr. Shelton's refusal to approve testosterone treatment constituted

deliberate indifference to his serious medical needs and denied him equal protection under the

law. Defendants move for summary judgment on grounds that the evidence does not demonstrate

deliberate indifference to plaintiffs serious medical needs or a violation of plaintiffs equal

protection rights. To prevail, defendants must show that there is no genuine dispute as to any

material fact and they are entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986). The court must construe the evidence and draw all

reasonable inferences in the light most favorable to plaintiff. Torres v. City of Madera, 648 F.3d

1119, 1123 (9th Cir. 2011).

   A. Deliberate Indifference to a Serious Medical Need

       Plaintiff alleges that defendants were deliberately indifferent to his serious medical needs

in violation of his rights under the Eighth Amendment. Estelle v. Gamble, 429 U.S. 97, 103

(1976) ("An inmate must rely on prison authorities to treat his medical needs"); Johnson v.

Lewis, 217 F.3d 726, 731 (9th Cir. 2000) ("Prison officials have a duty to ensure that prisoners

are provided adequate shelter, food, clothing, sanitation, medical care, and personal safety."). To

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sustain a claim for deliberate indifference to his serious medical needs, plaintiff must establish

the existence of "a serious medical need" and show that "defendant's response to the need was

deliberately indifferent." Jett v. Penner, 439 F.3d 1091, 1096 (9th Cir. 2006). "A 'serious'

medical need exists if the failure to treat a prisoner's condition could result in further significant

injury or the 'unnecessary and wanton infliction of pain."' Id. (citation omitted). Prison officials

may demonstrate deliberate indifference by denying, delaying, or intentionally interfering with

medical treatment, or by the manner in which they provide medical treatment. Id.; Hallett v.

Morgan, 296 F.3d 732, 744 (9th Cir. 2002). Where a prisoner alleges a delay in receiving

medical treatment, the delay must have led to "significant harm." Hallett, 296 F.3d at 746.

       As an initial matter, plaintiff fails to submit any evidence to show that he preference for

testosterone injections constituted a serious medical need. A serious medical need includes "[t]he

existence of an injury that a reasonable doctor or patient would find important and worthy of

comment or treatment; the presence of a medical condition that significantly affects an

individual's daily activities; or the existence of a chronic and substantial pain." Colwell v.

Bannister, 763 F.3d 1060, 1066 (9th Cir. 2014) (citation omitted). Aside from lower than normal

testosterone levels, plaintiff identifies no injury, no condition that significantly affected his daily

activities, and no harm resulting from the denial of testosterone injections. Plaintiff suggests that

the lack of testosterone treatment contributed to his back problems. Pl. 's Response at 7-8 (ECF

No. 143). However, plaintiff presents no evidence from a medical provider to support this

suggestion, and plaintiff suffered back problems before the TLC committee denied his requests

for testosterone. See Shelton Deel. ,-r,-r 28-29, 45-47. To the extent plaintiff contends that the lack

of testosterone affected his mental health, plaintiff admittedly received treatment for mental

health issues. Moreover, his testosterone levels increased to a normal level without intervention.

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           Likewise, plaintiff fails to show that Dr. Shelton acted with deliberate indifference when

    denying plaintiffs requests for testosterone. Dr. Shelton denied plaintiffs requests because

    plaintiffs testosterone levels were only slightly below normal and he believed testosterone

J   injections had questionable medical value for treating plaintiffs mental health issues when other

    approved medications and treatments were available. Shelton Deel.       if 30. "[T]o prevail on a
    claim involving choices between alternative courses of treatment, a prisoner must show that the

    chosen course of treatment 'was medically unacceptable under the circumstances' and was

    chosen 'in conscious disregard of an excessive risk to the prisoner's health."' Toguchi v. Chung,

    391F.3d1051, 1058 (9th Cir. 2004) (citation omitted).

           Plaintiff presents no evidence that Dr. Shelton's actions were medically unacceptable or

    disregarded a known risk to plaintiffs health. Plaintiff maintains that a neurosurgeon

    recommended that plaintiff receive an "endocrine workup and treatment as indicated." Pl.'s

    Response at 7. However, plaintiff did not submit evidence of this recommendation; regardless,

    such a recommendation would have not suggested that testosterone treatment was medically

    necessary. Furthermore, as noted above, plaintiff received alternative mental health treatment,

    and his testosterone levels increased without testosterone treatment. The fact that plaintiff had a

    different opinion about his need for testosterone does not render Dr. Shelton's actions

    deliberately indifferent. A difference of opinion between a prisoner and a prison medical

    provider is "insufficient, as a matter of law, to establish deliberate indifference." Jackson v.

    Mcintosh, 90 F.3d 330, 332 (9th Cir. 1996).

           Consequently, Dr. Shelton is entitled to summary judgment on plaintiffs deliberate

    indifference claim.



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       B. Equal Protection

           Plaintiff next alleges that Dr. Shelton violated his Fourteenth Amendment right to equal

    protection by denying him testosterone injections when inmates who experienced similar

    symptoms and received a diagnosis of Klinefelter Syndrome were allowed to receive them.

    Comp. at 13; Pl.' s Response at 10-11.

           The Equal Protection Clause "is essentially a direction that all persons similarly situated

    should be treated alike." City of Cleburne, Tex. V Cleburne Living Center, 473 U.S. 432, 439

    (1985). "A successful equal protection claim may be brought by a 'class of one,' when the

    plaintiff alleges that it has been intentionally treated differently from others similarly situated

    and that there is no rational basis for the difference in treatment." SeaRiver Maritime Fin.

    Holdings, Inc. v. Mineta, 309 F.3d 662, 679 (9th Cir. 2002); see also Vil!. of Willowbrook v.

    Olech, 528 U.S. 562, 564 (2000) (per curiam). To sustain an equal protection claim under this

    theory, plaintiff must establish that Dr. Shelton, "intentionally, and without rational basis, treated

    the plaintiff differently from others similarly situated." North Pacifica LLC v. City of Pacifica,

    526 F.3d 478, 486 (9th Cir. 2008).

           Plaintiff does not allege or introduce any evidence that Dr. Shelton approved testosterone

    injections for inmates who did not have Klinefelter Syndrome and were similarly situated to him.

    Instead, plaintiff maintains that he was "similarly situated" to those with Klinefelter Syndrome

    because he experienced similar symptoms, and he should not have been treated differently than a

    prisoner diagnosed with that disease. In other words, plaintiff does not allege that he was treated

    differently from inmates like him. The fact that plaintiff believes his symptoms were similar to

    those caused by Klinefelter Syndrome does not render him "similarly-situated" for purposes of

    Equal Protection analysis.

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       Regardless, given his lack of diagnosis for Klinefelter Syndrome, plaintiff cannot show

that the denial of testosterone injections was without rational basis.

                                          CONCLUSION

       Defendant Shelton's Motion for Summary Judgment (ECF No. 138) is GRANTED.

IT IS SO ORDERED.
                      1nD
       DATED thisc:?l
                  _ _ day of August, 2018.



                                         (~C~
                                            Ann Aiken
                                    United States District Judge




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